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            EXHIBIT 
      Case 3:18-cv-00705-VLB Document 105-7 Filed 10/18/19 Page 2 of 12


From:            St. George, Timothy J.
To:              Salmun Kazerounian
Cc:              Sarah White; Eric Dunn; Greg Kirschner; Dillard, Patrick F.; Lozier, Stephen D.
Subject:         RE: Arroyo et al v. Corelogic Rental Property Solutions
Date:            Friday, April 5, 2019 1:00:09 PM
Attachments:     ARROYO000534-000541 Produced.pdf
                 ARROYO000641-000646 Produced.pdf


Salmun,

I continue to follow up on the questions posed below. I also am processing the file
disclosure. In light of the updated conservatorship certificate, however, please find
attached two additional documents previously withheld from production while the
conservatorship issues were addressed.

Thanks,
Tim

Timothy J. St. George
troutman sanders
Direct: 804.697.1254
tim.st.george@troutman.com

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From: Salmun Kazerounian <skazerounian@ctfairhousing.org>
Sent: Friday, March 8, 2019 4:16 PM
To: St. George, Timothy J. <Timothy.St.George@troutman.com>
Cc: Sarah White <swhite@ctfairhousing.org>; Eric Dunn <ericd@nwjustice.org>; Greg Kirschner
<greg@ctfairhousing.org>; Dillard, Patrick F. <Patrick.Dillard@troutman.com>; Lozier, Stephen D.
<Stephen.Lozier@troutman.com>
Subject: RE: Arroyo et al v. Corelogic Rental Property Solutions

Tim: While this is helpful, surely your client has additional database documentation responsive to
these RFPs:

        31.       Produce all documents concerning the schema, schema documentation (such as an
        entity relationship diagram or data dictionary), or the like for any database or system that
        may reasonably be expected to contain information relating to CrimSAFE or the subject
        matter of this lawsuit, including information about consumers’ criminal records or their race
        or ethnicity.

        16.      Produce all guides, manuals, instructions, legends, codes, or other materials used
        for reading or interpreting information contained in Mr. Arroyo’s Consumer file or the
        Tenant Screening Report.

        17.     Produce all documents containing information used or relied upon in generating the
        Tenant Screening Report, including any rental admission criteria or other tenant screening
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        policies.

Specifically, and without limitation:

1.   The Excel file you shared contains no information about the table or tables storing information
     about CrimSAFE requests and decisions connected to individual housing applications. Please
     provide that.

2.    The data dictionary contains no information about the relationships between tables, and the
     “Table Description” and “Business Field Name” are (in many cases) too vague to interpret.
     Would you provide the detailed documentation? At a minimum, since our goal here is to query
     the database for relevant data, please clarify/confirm the following:

               a. Am I correct that the table CRMMASTP contains one record per criminal case with
                  a unique identifier the MSINRE, while the table CRMOFFSP contains one record per
                  offense? In other words, the same individual could have multiple records in
                  CRMMASTP, and each of those records could be associated with multiple rows in
                  CRMOFFSP, where CRMOFFSP.OFINRE = CRMMASTP.MSINRE.

               b. Am I correct that each row in the table CRMOFFCP (offense code table)
                  corresponds to a specific criminal offense (e.g., one row would represent a
                  particular PA shoplifting statute as identified by offense codes)?

               c. Am I correct that the table CRMOFFCP is a lookup table that provides information
                  about each criminal offense found in CRMOFFSP based on its internal and external
                  offense codes? And that the fields IOCTID (Category Identification Code) and
                  IOSUBC (Sub Category) represent CrimSAFE categories? Do the possible values of
                  these category fields include, e.g., PERSN and PERSNASSLT, meaning Crimes Against
                  Person and Assault-Related Offenses, respectively? Does the field IOOFTY (Offense
                  Type) differentiate between felonies and other types of offenses? What are its
                  possible values and what do they mean? What is IOCLVL (Confidence Level), what
                  are its possible values, and what do they mean?

               d. Am I correct that the table CRMADCDP (Disposition Table) is a lookup table for the
                  disposition codes in CRMOFFSP that provides information about the outcome of a
                  criminal charge, including whether it led to a conviction? What is the field IADSTY
                  (Disposition Type Indicator), what are its possible values, and what do they mean?

With clarification on the foregoing, we should be able to get you fairly precise queries.

Thanks, and have a nice weekend.
Salmun

From: St. George, Timothy J. <Timothy.St.George@troutman.com>
Sent: Thursday, February 28, 2019 6:33 PM
       Case 3:18-cv-00705-VLB Document 105-7 Filed 10/18/19 Page 4 of 12


To: Salmun Kazerounian <skazerounian@ctfairhousing.org>
Cc: Sarah White <swhite@ctfairhousing.org>; Eric Dunn <ericd@nwjustice.org>; Greg Kirschner
<greg@ctfairhousing.org>; Dillard, Patrick F. <Patrick.Dillard@troutman.com>; Lozier, Stephen D.
<Stephen.Lozier@troutman.com>
Subject: RE: Arroyo et al v. Corelogic Rental Property Solutions

Salmun,

To address your concern, here’s the data dictionary and the document retention policy.
Using this, let me know the proposed queries with more precision.

I am unsure the timeframe for response, nor am I promising a production given the total
lack of the actual material variable: the race of the applicant. Having spoken with our data
team, it’s also much more complex than you are assuming. But, if you have revised
queries based on the data dictionary, let me know and I’ll again run them by the team.

Are you also now clarifying for geography that it’s the location of the property that matters
to you? That’s not explicit. Also, I still don’t understand anything less more granular than
the State of Connecticut.

Tim

Timothy J. St. George
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Direct: 804.697.1254
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From: Salmun Kazerounian <skazerounian@ctfairhousing.org>
Sent: Thursday, February 28, 2019 12:07 PM
To: St. George, Timothy J. <Timothy.St.George@troutman.com>
Cc: Sarah White <swhite@ctfairhousing.org>; Eric Dunn <ericd@nwjustice.org>; Greg Kirschner
<greg@ctfairhousing.org>; Dillard, Patrick F. <Patrick.Dillard@troutman.com>; Lozier, Stephen D.
<Stephen.Lozier@troutman.com>
Subject: RE: Arroyo et al v. Corelogic Rental Property Solutions

Tim:

As we pointed out – and you acknowledged – when we spoke by phone, CoreLogic does have the
race of many applicants, which it collects in connection with criminal records. In a case with which
you are familiar, Abdullah Wilson sued your client in part for collecting consumers’ race information
and reporting it to landlords when they apply for apartments. For reference, the CoreLogic screening
report for Mr. Wilson is attached. Page 9 of the report contains Mr. Wilson’s (vacated and sealed)
criminal record, which states “Race: Black.” The training powerpoint your client prepared for
WinnResidential, produced in response to our RFPs, not only makes clear that race information is
routinely included in CrimSAFE reports, but explicitly advises landlords to verify the race along with
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other identifying information (see, e.g., ARROYO000397). I recognize that landlords don’t provide
the race of an applicant when they request a background check, but as we explained by phone,
that’s irrelevant for purposes of our RFPs. Whatever the source of the information, your client has it
for many consumers.

You are asking us for a step-by-step guide for querying your client’s database, yet you continue to
withhold the requested documentation regarding the structure and content of that database. I’ll
take a crack at a constructing a simple query for RFP 29 based on the minimal information we have
about the database from ARROYO000532 and 542. Since you’re keeping us in the dark about the
database structure, I’m left to make a number of assumptions: that the database called ‘criminaldb’
is a mysql or comparable database; that the table ‘crmmastp’ contains one record per offense (as
opposed one record per person); that the field ‘msrace’ contains numerical codes representing the
race of the consumer as found in the offense record; and that the field ‘msinre’ is a unique identifier
for the consumer (as opposed to the offense). I am not very confident about that last assumption,
but let’s say they’re all correct. The simple query below should return a count of the number of
consumers of each race having any offense that appears in the table ‘crmmastp’:

        SELECT msrace, COUNT(DISTINCT msinre) AS ‘count’
        FROM criminaldb.crmmastp
        GROUP BY msrace;

This should return something like:

          MSRACE         count
          -----          -----
          001            3064
          002            20123
          003            6545
          004            97698

(counts obviously made up, and we’re still waiting on you to provide documentation of what race
each numerical code represents.) This query would go a long way toward providing the information
requested in RFP 29. To provide you with a “step-by-step guide” on how to break this result down
into CrimSAFE’s categories of offenses, I would need to know how category information is stored in
the database – or, if it’s not in the database, how CrimSAFE goes about matching an offense to the
category. My best guess is that some of the fields in the table ‘crmoffsp’ relate to CrimSAFE
categories (see bates 542), in which case this should be doable without much effort, particularly for
a company that specializes in collecting, organizing, and reporting data. That’s a completely blind
guess because you haven’t so much as provided documentation as to the meanings of the cryptic
column labels (e.g. OFSTO0,OFARDA,OFCODA,OFCOO1, OFCOPR, etc.) such that we can actually
interpret the documents you’ve produced. Filtering the results for consumers residing in
Connecticut, Windham County, and Windham, should be negligibly easy. I recognize that not every
offense record will include the applicant’s race; simply provide a count of those that are unknown.

As for nos. 27-28, in response to your request for clarification as to how we would like those
requests processed by virtue of the race of the applicant, see Mr. Wilson’s CrimSAFE report on page
12 of the attached. Included on a single page generated by your client’s system are the CrimSAFE
decision, the applicant’s race, and the property information – everything you need in order to
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respond to the RFP. Mr. Wilson’s application would be counted as one decline decision for a Black
applicant in the United States, New York State, and the Bronx (location of the property). I suspect
CoreLogic’s data team can pretty quickly figure out how to write a query or script that counts all
CrimSAFE decisions the same way; surely they’re better than me at database programming.

To move this process along, I’ll again do my best to give you a step-by-step without information
about the schema or content of the database. Extrapolating from the Wilson CrimSAFE report, it
seems there’s a table of all “requests,” of which one type is CrimSAFE requests. For the Wilson
application, the CrimSAFE request has a “request ID” of N247652. Each CrimSAFE request record
appears to include at least the property ID (in Wilson’s report it’s NR436), the request ID of the
associated multistate criminal search relied upon by CrimSAFE (N9247660), and likely the CrimSAFE
decision (though this might be stored be in a separate table). Request N9247660 (multistate
criminal search) returned information associated Mr. Wilson’s criminal offense, including his race.
 The property ID can presumably be used to query a table of properties to look up the location (see
page 2, stating “NR436 – Bronx”). It looks straightforward, then, to determine, for each CrimSAFE
request, the decision, race, and property location. All that’s left to do is tabulate the number of
accept and decline decisions for each race, then do this again for properties only in Connecticut, and
again for county and local. That’s the best I can do with the limited information you’ve agreed to
provide.

By “number of decline/record(s) found decisions,” I’m simply referring to the number of decline
decisions. The language “Record(s) Found” is sometimes used in connection with CrimSAFE
decisions, but it’s clear from materials produced in response to RFPs that this simply means decline.

The information for the requested geographies is relevant and must be produced. Mr. Arroyo’s
claims arose in Willimantic, which is part of the town of Windham, which is in Windham County,
Connecticut. The Connecticut Fair Housing Center’s claims relate to all of Connecticut. There is no
legitimate reason to refuse to provide that information, and the additional work and overhead
required to do so is minimal.

Let us know when we can expect to receive the requested information.

Thanks,
Salmun

Salmun Kazerounian
Staff Attorney
Connecticut Fair Housing Center
60 Popieluszko Court
Hartford, CT 06106
t 860-560-8615 | f 860-247-4236



From: St. George, Timothy J. <Timothy.St.George@troutman.com>
Sent: Monday, February 25, 2019 1:47 PM
      Case 3:18-cv-00705-VLB Document 105-7 Filed 10/18/19 Page 7 of 12


To: Salmun Kazerounian <skazerounian@ctfairhousing.org>
Cc: Sarah White <swhite@ctfairhousing.org>; Eric Dunn <ericd@nwjustice.org>; Greg Kirschner
<greg@ctfairhousing.org>; Dillard, Patrick F. <Patrick.Dillard@troutman.com>; Lozier, Stephen D.
<Stephen.Lozier@troutman.com>
Subject: RE: Arroyo et al v. Corelogic Rental Property Solutions

Salmun,

I have asked the client about the documents.

I will say that your search query sheets still do not make sense to me. Per my email below,
I was hoping for a step-by-step guide in what you want searched.

For No. 27-28, I have already noted that we don’t have the race of the applicant. So, I am
not sure how you want me to process those requests by virtue of the “race/ethnicity” of the
applicant. Can you clarify? I also don’t know what you mean by “number of
decline/record(s) found decisions.” It’s not clear. For the ones broken down by geography,
I also don’t know what you are proposing. Is that the location of the record, property, or
applicant. The bottom line is that I’m not at all clear on what you want and need an
itemized query process to scope it and continue to discuss a possible further response.

For No. 29, you are requesting 10 years prior to filing. I think that’s pretty far outside the
scope of what we agreed. Also, for both requests, I’d again ask that you remove the
requests to explore on the basis of sub-territories (Connecticut, Windham, Windham
County). I don’t see any basis to do that.

Thanks,
Tim

Timothy J. St. George
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Direct: 804.697.1254
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From: Salmun Kazerounian <skazerounian@ctfairhousing.org>
Sent: Wednesday, February 20, 2019 1:52 PM
To: St. George, Timothy J. <Timothy.St.George@troutman.com>
Cc: Sarah White <swhite@ctfairhousing.org>; Eric Dunn <ericd@nwjustice.org>; Greg Kirschner
<greg@ctfairhousing.org>; Dillard, Patrick F. <Patrick.Dillard@troutman.com>; Lozier, Stephen D.
<Stephen.Lozier@troutman.com>
Subject: RE: Arroyo et al v. Corelogic Rental Property Solutions

Tim: Do you have an update in response to my email below from two weeks ago?

Thanks,
      Case 3:18-cv-00705-VLB Document 105-7 Filed 10/18/19 Page 8 of 12


Salmun


From: Salmun Kazerounian
Sent: Wednesday, February 6, 2019 10:48 AM
To: 'St. George, Timothy J.' <Timothy.St.George@troutman.com>
Cc: Sarah White <swhite@ctfairhousing.org>; 'Eric Dunn' <ericd@nwjustice.org>; Greg Kirschner
<greg@ctfairhousing.org>; 'Dillard, Patrick F.' <Patrick.Dillard@troutman.com>; 'Lozier, Stephen D.'
<Stephen.Lozier@troutman.com>
Subject: Re: Arroyo et al v. Corelogic Rental Property Solutions

Tim: We are still reviewing the confidentiality designations and redactions and will get back to you
on that.

A current copy of the conservatorship certificate is attached. Please provide a copy of Mikhail’s
consumer file.

Regarding the database queries, I’ve attached two spreadsheets intended to illustrate the
information/outputs these requests are seeking. Obviously, unformatted CSV or SQL (or
comparable) files are just fine, provided there are header rows or documentation sufficient to make
sense of the information. Note that RFP 29.xlsx has multiple sheets.

For 27-28, we would like the number of Accept decisions and Decline/Record(s) Found decisions
returned by CrimSAFE, broken down by the race/national origin of the applicant where available
(and the number for which race is unavailable).

For 29, as the spreadsheet shows, we would like the number of consumers who have records that
fall within each CrimSAFE category. The sampling of categories in the attached spreadsheets are
pulled from ARROYO000338-339. I’m not sure I understand how it could be that the CrimSAFE
categories have not been built to interact with the criminal record database. Let’s say an applicant
has an 8-year-old felony assault conviction, and the landlord’s settings provide that a decline
decision should be returned for applicants with felony convictions in the category “Assault Related
Offenses” within the past 10 years. At some point in the process, the applicant’s criminal conviction
(which I assume is stored in the “criminal record database”) has to be matched up with the
CrimSAFE category called “Assault Related Offenses” in order for CrimSAFE to be able to determine
that a decline decision should be returned.

It would be significantly easier to fashion queries – and know what types of queries/reports are
possible – with the schema/data dictionary requested in RFPs 31-32 and documentation of the types
of reports the system is capable of generating. Indeed, this discussion underscores the relevance of
those requests. Please let us know when you have an update on that, which you were expecting to
be able to provide a couple weeks ago.

Thanks much,
Salmun
        Case 3:18-cv-00705-VLB Document 105-7 Filed 10/18/19 Page 9 of 12


Salmun Kazerounian
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Hartford, CT 06106
t 860-560-8615 | f 860-247-4236




From: St. George, Timothy J. <Timothy.St.George@troutman.com>
Sent: Friday, January 18, 2019 12:14 PM
To: Eric Dunn <edunn@nhlp.org>
Cc: Sarah White <swhite@ctfairhousing.org>; Salmun Kazerounian
<skazerounian@ctfairhousing.org>; Greg Kirschner <greg@ctfairhousing.org>; Dillard, Patrick F.
<Patrick.Dillard@troutman.com>; Lozier, Stephen D. <Stephen.Lozier@troutman.com>
Subject: RE: Arroyo et al v. Corelogic Rental Property Solutions

Eric,

As promised, here is an update on some outstanding items.

First, we agree to withdraw confidentiality designations for the following documents within
the range you identified for the following Nos.:

        21
        188-189
        197-199
        203-204
        234-242
        243
        244
        245
        245
        254-255
        262-263

Also, here is an explanation as to the redactions that appeal in the documents you
identified by Nos.:

        264-309: Redacted attachments regarding a suite of descriptions/products (e.g.,
        credit) not implicated by this case. All CrimSAFE content was produced.

        310-337: Redacted the names of attachments for a suite of other products (e.g.,
        credit) not implicated by the case. All CrimSAFE content was produced.

        343-379: Redacted information on landlord tenant record products unrelated to this
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         case and various reports that can be run internally that are unrelated to this case.

         380-408: Redacted information on landlord tenant record products unrelated to this
         case and various reports that can be run internally that are unrelated to this case.

Turning towards substance, I have had a conversation with the data and technical team. I
have asked them to locate and (if located) provide to me the document retention policy,
data dictionary, and database schema for the criminal record database. I am still waiting to
hear back and should have an update next week.

In terms of the search queries implicated by RFP Nos. 27-29, as limited to 5 years
predating the filing of this case, we are scoping possibilities. However, I think I need more
clarity from you in certain regards. Here’s a bit more background.

         As to Nos. 28-29, CrimSAFE has two potential decisions. Accept or Decline. As
         discussed, RPS does not obtain the race of the consumer from the leasing agent, but
         records returned may or may not contain a race code. Given that, please set forth
         exactly what you want the query to consist of and what output you desire. Then I can
         scope it better.

         The same is true with respect to the database search requested in RFP No. 29. Tell
         me precisely what query you want run against the database and the output so I can
         scope it. I will mention, however, that during my discussions with the technical team,
         the CrimSAFE “categories” use logic that has not been built to interact with the
         criminal record database. So, that attempt to apply product settings to a database is
         not straightforward. Given that, please include in your answer whether you simply
         want queries run against the database along certain categories, which may be easier
         for now.

Finally, I provided my position as to experts, and we should be all agreed on that front,
subject to my request to push them back another 15 days due to my baby’s due date.

Thanks,
Tim

Timothy J. St. George
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     Case 3:18-cv-00705-VLB Document 105-7 Filed 10/18/19 Page 11 of 12


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From: Eric Dunn <edunn@nhlp.org>
Sent: Wednesday, January 9, 2019 2:47 PM
To: St. George, Timothy J. <Timothy.St.George@troutman.com>; Cohen, Daniel W.
<Dan.Cohen@troutman.com>
Cc: Anthony, David N. <David.Anthony@troutman.com>; Sarah White <swhite@ctfairhousing.org>;
Salmun Kazerounian <skazerounian@ctfairhousing.org>; Greg Kirschner <greg@ctfairhousing.org>
Subject: Re: Arroyo et al v. Corelogic Rental Property Solutions

Tim--
Good chatting with you today. Attached please find a letter which I hope accurately summarizes
everything we agreed on.
Thanks.
--EGD



Eric Dunn
Director of Litigation
National Housing Law Project
919 E. Main Street, Ste. 610
Richmond, VA 23219
Tel: (415) 546-7000, ext. 3102


On Fri, Jan 4, 2019 at 1:23 PM Eric Dunn <edunn@nhlp.org> wrote:
  Hi Tim, Dan, and David-
  I am writing to schedule a discovery conference regarding Corelogic's responses to plaintiffs' first
  set of requests for production. See attached letter. If the proposed time doesn't work for you,
  please let me know and we can find another time.

  Thanks.
  --EGD



  Eric Dunn
  Director of Litigation
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  Richmond, VA 23219
  Tel: (415) 546-7000, ext. 3102




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     Case 3:18-cv-00705-VLB Document 105-7 Filed 10/18/19 Page 12 of 12


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